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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                       No. 1:17-cv-00365-DAE-AWA
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
               Defendant.
                                                 )

                    JOINT ADVISORY REGARDING
 THE PARTIES’ OBJECTIONS TO DESIGNATIONS OF DEPOSITION TESTIMONY

       Pursuant to the Court’s Order Setting Jury Selection/Trial and Related Deadlines (ECF

No. 275), the parties have filed disclosures identifying testimony to be presented by means of

deposition (ECF Nos. 301-5, 302-6) and objections to the opposing party’s designations (ECF

Nos. 303, 305-1). On February 10, 2020, Magistrate Judge Austin conducted a teleconference

with the parties regarding procedures for resolving their objections, in anticipation of the

February 24, 2020 trial setting. In that teleconference, Magistrate Judge Austin directed the

parties to meet and confer regarding their objections, and to file an advisory by today identifying

objections that will likely be impacted by resolution of the parties’ motions in limine and any

objections that have since been withdrawn or otherwise resolved.

       The same day, the parties filed an Agreed Motion to Continue Trial Setting (ECF No.

332). In a hearing on February 14, 2020, Judge Ezra informed the parties that their Agreed

Motion will be granted, and that trial in this matter will be rescheduled for September 8, 2020.

Additionally, on February 12, 2020, Judge Ezra entered an order withdrawing the referral of

pending non-dispositive motions to Magistrate Judge Austin, including the parties’ motions in


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limine. See Order Withdrawing Referral (ECF No. 334). In the February 14, 2020 hearing,

Judge Ezra indicated that he intends to rule on motions in limine well in advance of the new

September 8, 2020 trial setting.

       The parties expect that rulings on their motions in limine will significantly narrow their

disputes regarding the admissibility of designated deposition testimony. The parties also believe

that they may be able to further narrow their disputes by withdrawing deposition designations for

certain witnesses who will testify live at trial. The parties will promptly meet and confer on

these subjects upon receiving orders from the Court regarding their motions in limine. Subject to

any subsequent order from the Court, the parties will then file amended disclosures identifying

those objections that still need to resolved and/or provide proposed procedures for resolving

outstanding objections during trial.




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Dated: February 17, 2020


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                               CERTIFICATE OF SERVICE


       The undersigned certifies that on February 17, 2020, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Richard L. Brophy




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